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                           HEARING DATE AND TIME: AUGUST 30, 2021 AT 10:00 A.M.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                            Chapter 11
In re:
                                                            Case No. 21-11298 (LGB)
286 RIDER AVE ACQUISITION LLC,
                                                            RELATED DOC. NO. 17
                             Debtor.


  NOTICE OF FILING JOINDERS TO 286 RIDER AVE DEVELOPMENT LLC'S
MOTION TO (I) DISMISS BANKRUPTCY CASE PURSUANT TO 11 U.S.C. §§ 105, 305
 AND 1112 AND (II) FOR TURNOVER OF CERTAIN MEMBERSHIP INTERESTS
                          UNDER 11 U.S.C. § 543

         286 Rider Ave Development LLC (“Development”), by and through undersigned

counsel, hereby files the Joinders by (i) Titan Engineers PC, (ii) Fischer and Makooi Architects

PLLC and (iii) 286 Rider Associates LLC attached hereto as Exhibits A, B and C respectively,

to the Motion to (i) Dismiss Bankruptcy Case Pursuant to 11 U.S.C. §§ 105, 305 and 1112 and

(ii) for Turnover of Certain Membership Interests Under 11 U.S.C. § 543 [ECF No. 17].

Dated: New York, New York
       August 30, 2021
                                             AKERMAN LLP


                                             By:    /s/Mark S. Lcchtenstein
                                                     Mark S. Lichtenstein
                                                     Joshua D. Bernstein
                                                     1251 Avenue of the Americas, 37th Floor
                                                     New York, New York 10020
                                                     Tel. No. (212) 880-3800
                                                     E-mail: mark.licthtenstein@akerman.com
                                                     E-mail: joshua.bernstein@akerman.com

                                             Counsel for 286 Rider Ave Development LLC




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                                  EXHIBIT A

               JOINDER BY TITAN ENGINEERS PC




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                                                                                                       Via E-Mail
                                                                                                       08.29.2021


                                                                             RE: Professional Engineering Services
                                                                                 Building Design New Ground-Up
                                                                                 286 Rider Ave
                                                                                 Bronx, NY 10451
                                                                                 TEPC Project No.: TJ19122

 Dear Judge Lisa Beckerman:

 As a creditor of 286 Rider Acquisition LLC, in the amount of about $50,000, I hereby join in the objection of
 Michael Lichtenstein, who is the Developer of 286 Rider, and a longtime client of mine. Through his business
 Mr. Lichtenstein has employed hundreds of workers on an annual basis, and has worked hard to offer opportunity
 to young men and women in the construction and development industry. Michael is the son of two immigrants
 and through his hard work and perseverance has transformed many neighborhoods in NYC, and stands out as an
 example of a great developer who cares about the communities in which he builds.

 I support the motion to dismiss the bankruptcy. I believe that the best outcome for New York City and all parties
 involve is to allow Mr. Lichtenstein is provided the time and leeway to arrange for the full construction financing
 to complete the project.

 Should you have any questions or comments concerning this or any other matter, please, do not hesitate to contact
 our office.

 Sincerely,
 TITAN ENGINEERS PC




 Yubun (Jack) Auyeung, PhD, PE
 Principal




 YA/ I:\Projects\2019\TJ19122 - 286 Rider Ave, Bronx, NY 10451\NOWORKPERMITTED\Docs\Letters\CLTR-286 Rider-TJ19122-0-210829.doc
 Enclosure(s)
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                                   EXHIBIT B

               JOINDER BY FISCHER AND MAKOOI
                    ARCHITECTS PLLC




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8/29/2021


To Whom It May Concern,


I am a creditor of 286 Rider Acquisition LLC of approximately $80,000. I am reaching out in support of
the objection of Michael Lichtenstein filed in the bankruptcy case 21-11298-LGB.

I support the motion to dismiss the bankruptcy. The bankruptcy case in the matter of 286 Rider
Acquisition LLC that was filed by the lender should be dismissed. I believe that my interests will be
better protected if Mr. Lichtenstein is allowed to refinance the current loan and arrange a construction
loan. This will allow recovery to all creditors, rather than letting the current lender undermine this project
to their advantage only to the detriment of all other creditors.


Sincerely,




Fariba Makooi, RA, AIA
Principal




                                242 West 30th Street, New York, NY 10001 USA
                 tel: 212-219-9733 ext. 402 fax: 212-219-8980 e-mail: fariba@fmarchitect.com
                                         internet: www.fmarchitect.com
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                                   EXHIBIT C

             JOINDER BY 286 RIDER ASSOCIATES LLC




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                                286 Rider Associates LLC
                                  C/O Robert Newblatt
                                     213 Via Emilia
                              Palm Beach Gardens, FL 33418
                                           August 30, 2021


Re: Case No. 21-11298-LGB

ATTN: Judge Beckerman,


286 Rider Associates LLC is a creditor of 286 Rider Ave Acquisition LLC (“Debtor”) in an amount
of more than $1,000,000. We hereby join in the motion to dismiss of Debtor, as raised by 286 Rider Ave
Development LLC.

We support the motion to dismiss the Bankruptcy. We believe that the Debtor’s bankruptcy case is not in
our best interests. We request that Debtor be allowed to refinance and move forward outside of any
Bankruptcy.


Thank you –

/s

Robert Newblatt
